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                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF GEORGIA
                               ROME DIVISION

DAKOTA HOLT,                           )
                                       )
      Plaintiff,                       )
                                       )       CIVIL ACTION
v.                                     )
                                       )       FILE No. _____________________
FELTON ROAD, INC.,                     )
                                       )
      Defendant.                       )

                                   COMPLAINT

      COMES NOW, DAKOTA HOLT, by and through the undersigned counsel,

and files this, his Complaint against Defendant FELTON ROAD, INC. pursuant to

the Americans with Disabilities Act, 42 U.S.C. § 12181 et seq. (“ADA”) and the

ADA’s Accessibility Guidelines, 28 C.F.R. Part 36 (“ADAAG”). In support

thereof, Plaintiff respectfully shows this Court as follows:

                         JURISDICTION AND VENUE

      1.     This Court has original jurisdiction over the action pursuant to 28

U.S.C. §§ 1331 and 1343 for Plaintiff’s claims pursuant to 42 U.S.C. § 12181 et

seq., based upon Defendant’s failure to remove physical barriers to access and

violations of Title III of the ADA.

      2.     Venue is proper in the federal District Court for the Northern District


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of Georgia, Rome Division, as the parcel of real property at issue in this case is

located in Bartow County, Georgia.

                                     PARTIES

       3.     Plaintiff DAKOTA HOLT (hereinafter “Plaintiff”) is, and has been at

all times relevant to the instant matter, a natural person residing in Cartersville,

Georgia (Bartow County).

       4.     Plaintiff is an amputee and is disabled as defined by the ADA.

       5.     Plaintiff is required to traverse in a wheelchair and is substantially

limited in performing one or more major life activities, including but not limited

to: walking and standing.

       6.     Plaintiff cannot walk and uses a wheelchair for mobility purposes.

       7.     Defendant FELTON ROAD, INC. (hereinafter “Defendant”) is a

Georgia corporation that transacts business in the state of Georgia and within this

judicial district.

       8.     Defendant may be properly served with process via its registered

agent for service, to wit: Tracy Eum, 3775 Venture Drive, Building E, Duluth,

Georgia, 30096.

                            FACTUAL ALLEGATIONS

       9.     On or about March 8, 2021, Plaintiff was a customer at “Pharm Rx,” a


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business located at 137 E. Felton Road, Cartersville, Georgia 30120.

      10.    Defendant is the owner or co-owner of the real property and

improvements that are the subject of this action. (The contiguous structures and

improvements situated upon said real property shall be referenced herein as the

“Facility,” and said real property shall be referenced herein as the “Property”).

      11.    Plaintiff lives approximately nine (9) miles from the Facility and

Property.

      12.    Plaintiff’s access to the business(es) located at 137 E. Felton Road,

Cartersville, Georgia 30120, (Bartow County Property Appraiser’s parcel number

0078G-0004-012), and/or full and equal enjoyment of the goods, services, foods,

drinks, facilities, privileges, advantages and/or accommodations offered therein

were denied and/or limited because of his disabilities, and he will be denied and/or

limited in the future unless and until Defendant is compelled to remove the

physical barriers to access and correct the ADA violations that exist at the Facility

and Property, including those set forth in this Complaint.

      13.    Plaintiff has visited the Facility and Property at least once before and

intends on revisiting the Facility and Property once the Facility and Property are

made accessible.

      14.    Plaintiff intends to revisit the Facility and Property to purchase goods


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and/or services.

      15.    Plaintiff travelled to the Facility and Property as a customer and as an

advocate for the disabled, encountered the barriers to his access of the Facility and

Property that are detailed in this Complaint, engaged those barriers, suffered legal

harm and legal injury, and will continue to suffer such harm and injury as a result

of the illegal barriers to access present at the Facility and Property.

                               COUNT I
                   VIOLATIONS OF THE ADA AND ADAAG

      16.    On July 26, 1990, Congress enacted the Americans with Disabilities

Act 42 U.S.C. § 12101 et seq. (the “ADA”).

      17.     The ADA provided places of public accommodation one and a half

years from its enactment to implement its requirements.

      18.    The effective date of Title III of the ADA was January 26, 1992 (or

January 26, 1993 (if a defendant has 10 or fewer employees and gross receipts of

$500,000 or less). 42 U.S.C. § 12181; 28 C.F.R. § 36.508(a).

      19.    The Facility is a public accommodation and service establishment.

      20.    The Property is a public accommodation and service establishment.

      21.    Pursuant to the mandates of 42 U.S.C. § 12134(a), on July 26, 1991,

the Department of Justice and Office of Attorney General promulgated federal

regulations to implement the requirements of the ADA. 28 C.F.R. Part 36.

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      22.    Public accommodations were required to conform to these regulations

by January 26, 1992 (or by January 26, 1993 if a defendant has 10 or fewer

employees and gross receipts of $500,000 or less). 42 U.S.C. § 12181 et seq.; 28

C.F.R. § 36.508(a).

      23.    Liability for violations under Title III or the ADA falls on “any person

who owns, leases (or leases to), or operates a place of public accommodation.” 42

U.S.C. § 12182(a).

      24.    The Facility must be, but is not, in compliance with the ADA and

ADAAG.

      25.    The Property must be, but is not, in compliance with the ADA and

ADAAG.

      26.     Plaintiff has attempted to, and has to the extent possible, accessed the

Facility and the Property in his capacity as a customer of the Facility and Property,

and as an advocate for the disabled, but could not fully do so because of his

disabilities resulting from the physical barriers to access, dangerous conditions and

ADA violations that exist at the Facility and Property that preclude and/or limit his

access to the Facility and Property and/or the goods, services, facilities, privileges,

advantages and/or accommodations offered therein, including those barriers,

conditions and ADA violations more specifically set forth in this Complaint.


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      27.    Plaintiff intends to visit the Facility and Property again in the future as

a customer and as an advocate for the disabled in order to utilize all of the goods,

services, facilities, privileges, advantages and/or accommodations commonly

offered at the Facility and Property, but will be unable to fully do so because of his

disability and the physical barriers to access, dangerous conditions and ADA

violations that exist at the Facility and Property that preclude and/or limit his

access to the Facility and Property and/or the goods, services, facilities, privileges,

advantages and/or accommodations offered therein, including those barriers,

conditions and ADA violations more specifically set forth in this Complaint.

      28.    Defendant has discriminated against Plaintiff (and others with

disabilities) by denying his access to, and full and equal enjoyment of the goods,

services, facilities, privileges, advantages and/or accommodations of the Facility

and Property, as prohibited by, and by failing to remove architectural barriers as

required by, 42 U.S.C. § 12182(b)(2)(A)(iv).

      29.    Defendant will continue to discriminate against Plaintiff and others

with disabilities unless and until Defendant is compelled to remove all

physical barriers that exist at the Facility and Property, including those specifically

set forth herein, and make the Facility and Property accessible to and usable by

Plaintiff and other persons with disabilities.


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      30.     A specific list of unlawful physical barriers, dangerous conditions and

ADA violations which Plaintiff experienced and/or observed that precluded and/or

limited Plaintiff’s access to the Facility and Property and the full and equal

enjoyment of the goods, services, facilities, privileges, advantages and

accommodations of the Facility and Property include, but are not limited to:

      (i)     The Property lacks an accessible route from the public sidewalk

              to the accessible entrance(s) of the Facility, in violation of

              section 206.2.1 of the 2010 ADAAG standards.

      (ii)    The total number of accessible parking spaces on the Property

              is inadequate, in violation of section 208.2 of the 2010 ADAAG

              standards.

      (iii)   The accessible parking space on the Property and its adjacent

              access aisle are not adequately marked, in violation of sections

              502.1 and 502.3.3 of the 2010 ADAAG standards.

      (iv)    The access aisle adjacent to the accessible parking space on the

              Property is not level due to the presence of a ramp within the

              boundaries of said access aisle, in violation of section 502.4 of

              the 2010 ADAAG standards.

      (v)     The side flares of the above-described ramp have slopes in


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             excess of 1:10 (one to ten), in violation of section 406.3 of the

             2010 ADAAG standards.

      (vi)   There is broken pavement and excessive vertical rises at the

             base and landing of the accessible ramp on the Property, in

             violation of section 405.7 of the 2010 ADAAG standards.

      (vii) The interior of the Facility has sales and services counters

             lacking any portion of which that has a maximum height of 36”

             (thirty-six inches) from the finished floor, in violation of

             section 904.4 of the 2010 ADAAG standards.

      31.    Without limitation, the above-described violations of the ADAAG

made it more difficult for Plaintiff to traverse the ramp servicing the property,

more difficult for Plaintiff to enter and exit the Facility, and more difficult for

Plaintiff to conduct his business on the accessible routes while inside the Facility.

      32.    The violations enumerated above may not be a complete list of the

barriers, conditions or violations encountered by Plaintiff and/or which exist at the

Facility and Property.

      33.    The Property has not been adequately maintained in operable working

condition for those features of facilities and equipment that are required to be

readily accessible to and usable by persons with disabilities in violation of section


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28 C.F.R. § 36.211.

      34.    Upon information and good faith belief, Defendant fails to adhere to a

policy, practice and procedure to ensure that all facilities on the Property are

readily accessible to and usable by disabled individuals.

      35.    Plaintiff requires an inspection of Facility and Property in order to

determine all of the discriminatory conditions present at the Facility and Property

in violation of the ADA.

      36.    The removal of the physical barriers, dangerous conditions and ADA

violations alleged herein is readily achievable and can be accomplished and carried

out without significant difficulty or expense. 42 U.S.C. § 12182(b)(2)(A)(iv); 42

U.S.C. § 12181(9); 28 C.F.R. § 36.304.

      37.    All of the violations alleged herein are readily achievable to modify

to bring the Facility and Property into compliance with the ADA.

      38.    Upon information and good faith belief, the removal of the physical

barriers and dangerous conditions present at the Facility and Property is readily

achievable because the nature and cost of the modifications are relatively low.

      39.    Upon information and good faith belief, the removal of the physical

barriers and dangerous conditions present at the Facility and Property is readily

achievable because Defendant has the financial resources to make the necessary


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modifications.

      40.    In instances where the 2010 ADAAG standards do not apply, the 1991

ADAAG standards apply, and all of the alleged violations set forth herein can be

modified to comply with the 1991 ADAAG standards.

      41.    Plaintiff is without adequate remedy at law, is suffering irreparable

harm, and reasonably anticipates that he will continue to suffer irreparable harm

unless and until Defendant is required to remove the physical barriers, dangerous

conditions and ADA violations that exist at the Facility and Property, including

those alleged herein.

      42.    Plaintiff’s requested relief serves the public interest.

      43.    The benefit to Plaintiff and the public of the relief outweighs any

resulting detriment to Defendant.

      44.    Plaintiff’s counsel is entitled to recover its reasonable attorney’s fees

and costs of litigation from Defendant pursuant to 42 U.S.C. §§ 12188 and 12205.

      45.    Pursuant to 42 U.S.C. § 12188(a), this Court is provided authority to

grant injunctive relief to Plaintiff, including the issuance of an Order directing

Defendant to modify the Facility and Property to the extent required by the ADA.

      WHEREFORE, Plaintiff prays as follows:

      (a)    That the Court find Defendant in violation of the ADA and ADAAG;


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(b)   That the Court issue a permanent injunction enjoining Defendant from

      continuing its discriminatory practices;

(c)   That the Court issue an Order requiring Defendant to (i) remove the

      physical barriers to access and (ii) alter the subject Facility and

      Property to make them readily accessible to, and useable by,

      individuals with disabilities to the extent required by the ADA;

(d)   That the Court award Plaintiff’s counsel reasonable attorneys' fees,

      litigation expenses and costs; and

(e)   That the Court grant such further relief as deemed just and equitable

      in light of the circumstances.

                                Dated: April 8, 2021.

                                Respectfully submitted,

                                /s/Craig J. Ehrlich
                                Craig J. Ehrlich
                                Georgia Bar No. 242240
                                The Law Office of Craig J. Ehrlich, LLC
                                1123 Zonolite Road, N.E., Suite 7-B
                                Atlanta, Georgia 30306
                                Tel: (800) 238-3857
                                Fax: (855) 415-2480
                                craig@ehrlichlawoffice.com

 CERTIFICATE OF COMPLIANCE WITH LOCAL RULE 5.1

The undersigned hereby certifies that the foregoing document has been


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prepared in accordance with the font type and margin requirements of Local Rule

5.1 of the Northern District of Georgia, using a font type of Times New Roman

and a point size of 14.

                                    /s/Craig J. Ehrlich
                                    Craig J. Ehrlich




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